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                     IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF DELAWARE


 UNITED STATES OF AMERICA,                 )
                                           )
               v.                          )
                                           )   Criminal Action No. 23-cr-00061-MN
 ROBERT HUNTER BIDEN,                      )
                                           )
                      Defendant.           )


                                         ORDER

      IT IS HEREBY ORDERED that for the reasons stated in the Government’s Opposition to

Defendant’s Rule 33 For a New Trial on All Counts For Lack of Jurisdiction, the defendant’s

motion (ECF 237) is DENIED.

______________________                                  ______________________________
Date                                                    Hon. Maryellen Noreika
                                                        United States District Judge
